                                             Case 5:19-cr-00663-EJD Document 17 Filed 12/27/19 Page 1 of 6




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8        UNITED STATES OF AMERICA,                       Case No. 19-cr-00663-EJD-1 (VKD)
                                                         Plaintiff,
                                   9
                                                                                            REVOCATION OF RELEASE;
                                                  v.                                        DETENTION ORDER
                                  10

                                  11        SANDEEP GARCHA,
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14            At his initial appearance, the United States moved for detention of defendant Sandeep

                                  15   Garcha. The Court held hearings on the government’s motion on December 3 and 5, 2019, after

                                  16   which the Court ordered Mr. Garcha released on a $100,000 bond, secured by real property, and

                                  17   several special conditions, including strict location conditions. Dkt. No. 14. Mr. Garcha was

                                  18   present at the hearings and represented by counsel. Id.

                                  19            On December 26, 2019, Pretrial Services reported to the Court that Mr. Garcha had twice

                                  20   violated the conditions of his release relating to restrictions on his location. Dkt. No. 15. The

                                  21   government moved for revocation of release. The Court held a hearing on the alleged violations

                                  22   on December 27, 2019. Mr. Garcha was present and represented by counsel.

                                  23            For the reasons stated on the record during the December 27, 2019 hearing and as set forth

                                  24   below, the Court finds that there is clear and convincing evidence Mr. Garcha violated his

                                  25   conditions of release and that detention is warranted. This order may be appealed to the presiding

                                  26   judge.

                                  27   I.       BACKGROUND
                                  28            As set forth in the indictment, the government charges Mr. Garcha with being a felon in
                                              Case 5:19-cr-00663-EJD Document 17 Filed 12/27/19 Page 2 of 6




                                   1   possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). Mr. Garcha is presumed innocent

                                   2   of these charges. See 18 U.S.C. § 3142(j).

                                   3            Pretrial Services prepared a pre-bail report on December 2, 2019, which was shared with

                                   4   the Court and counsel for the parties. Pretrial Services prepared a violation memorandum on

                                   5   December 26, 2019, which also was shared with the Court and counsel for the parties. The Court

                                   6   adopts the facts set forth in the Pretrial Services report and memorandum, as indicated below.

                                   7   Both parties presented arguments and evidence by proffer through counsel at the hearings, which

                                   8   were conducted in public.

                                   9   II.      LEGAL STANDARDS
                                  10            On a motion for revocation of release for violating a condition of pretrial release the

                                  11   government must show by clear and convincing evidence that a violation occurred. 18 U.S.C.

                                  12   § 3148(b)(1)(B). The government also must show by a preponderance of the evidence that the
Northern District of California
 United States District Court




                                  13   defendant is unlikely to abide by any condition or combination of conditions of release, or that no

                                  14   condition or combination of conditions of release will reasonably assure that the defendant will

                                  15   not flee or pose a danger to the safety of other persons or the community. Id. § 3148(b)(2);

                                  16   United States v. Gotti, 794 F.2d 773, 778 (2d Cir. 1986); United States v. Aron, 904 F.2d 221, 224

                                  17   (5th Cir. 1990).

                                  18   III.     DISCUSSION
                                  19            A.     Nature and Circumstances of the Offense
                                  20            According to the complaint, in August 2019 law enforcement authorities in San Jose

                                  21   discovered a loaded firearm concealed in a sofa in an apartment that Mr. Garcha frequented,

                                  22   together with information indicating that the firearm belonged to Mr. Garcha. During the hearing,

                                  23   the government proffered additional evidence, including statements made by Mr. Garcha upon his

                                  24   arrest in October 2019, that support the government’s contention that the firearm in question

                                  25   belonged to Mr. Garcha. According to the indictment and the criminal history presented at the

                                  26   hearing, Mr. Garcha was convicted in 2005 of two counts of carjacking, two counts of kidnapping,

                                  27   and one count of second degree robbery, all felonies, in violation of California state law, and was

                                  28   sentenced to 12 years’ imprisonment. He was on probation for that offense when he was arrested
                                                                                          2
                                           Case 5:19-cr-00663-EJD Document 17 Filed 12/27/19 Page 3 of 6




                                   1   in this case. Mr. Garcha faces a maximum prison term of 10 years for the offense with which he is

                                   2   currently charged.

                                   3          B.      Weight of the Evidence
                                   4          The weight of the evidence is difficult to assess at this stage of the case. The government

                                   5   proffers that Mr. Garcha made admissions to law enforcement regarding the charged conduct.

                                   6   However, the Court observes that the weight of the evidence is the least important consideration.

                                   7   United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir. 1985).

                                   8          C.      Personal Characteristics of the Defendant
                                   9          Mr. Garcha is 43 years old. He has lived in Fremont, California and surrounding areas for

                                  10   most of his life, although he has been incarcerated during some of that time. Mr. Garcha

                                  11   graduated high school, and received an Electrical Technician Card from ITT Tech in 2015. At the

                                  12   time of his arrest Mr. Garcha had recently begun employment in San Jose, and advised the Court
Northern District of California
 United States District Court




                                  13   he could continue in that employment if released.

                                  14          Mr. Garcha’s mother agreed to serve as his custodian and permitted him to reside with her

                                  15   in Tracy, California in the Eastern District of California. She also agreed to co-sign a substantial

                                  16   bond secured by real property that she owns. Mr. Garcha’s sister also agreed to co-sign a portion

                                  17   of the bond.

                                  18          Mr. Garcha has a history of substance abuse. He has no history of mental health issues or

                                  19   treatment. However, he does have a number of serious medical conditions that require treatment

                                  20   with medications, doctors’ visits, and a special diet.

                                  21          In addition to the 2005 felony convictions described above, Mr. Garcha has several arrests

                                  22   and adult criminal convictions, including felony convictions. He also has several violations of

                                  23   probation or supervised release.

                                  24          D.      Nature and Seriousness of the Danger to Others Posed by Defendant’s Release
                                  25          In addition to the conduct charged in the indictment, the government relied on evidence of

                                  26   Mr. Garcha’s substantial, recent criminal history, as described above. While the Court does not

                                  27   give substantial weight to conduct for which Mr. Garcha was arrested but not convicted, the recent

                                  28   history of serious convictions, including convictions involving firearms, supports the
                                                                                          3
                                           Case 5:19-cr-00663-EJD Document 17 Filed 12/27/19 Page 4 of 6




                                   1   government’s contention that Mr. Garcha poses a danger to the others and the community. In

                                   2   addition, Mr. Garcha’s past failures to comply with conditions of release while on probation,

                                   3   support the government’s contention that he is unlikely to comply with conditions that the Court

                                   4   may set to assure the safety of others.

                                   5          Mr. Garcha argues that his significant medical conditions render him less likely to pose a

                                   6   danger to anyone. He also argues that those medical conditions make him susceptible to health

                                   7   problems and other complications if he is held in custody.

                                   8          E.      Conditions of Release
                                   9          In ordering Mr. Garcha released, the Court carefully considered conditions of release that

                                  10   were necessary to reasonably assure the safety of others and the community and Mr. Garcha’s

                                  11   appearance as required. The Court considered a combination of location restrictions, monitoring,

                                  12   and substance abuse counseling or treatment, together with the requirement of a significant
Northern District of California
 United States District Court




                                  13   secured bond, were necessary to provide such reasonable assurance. Accordingly, the Court

                                  14   ordered Mr. Garcha released on a bond in the amount of $100,000, secured by real property and

                                  15   co-signed by Mr. Garcha, his mother, and his sister. In addition to the standard conditions, the

                                  16   Court imposed the following special conditions of release:

                                  17          1. Defendant must submit to supervision by Pretrial Services and must report immediately
                                                 upon release and thereafter as directed to Pretrial Services.
                                  18
                                  19          2. Defendant must surrender all passports and other travel documents to Pretrial Services
                                                 immediately and must not apply for other passports or travel documents.
                                  20
                                              3. Defendant must not possess any firearm, destructive device, or other dangerous
                                  21             weapon.
                                  22          4. Defendant must not use alcohol to excess and must not use or possess any narcotic or
                                                 other controlled substance without a legal prescription.
                                  23

                                  24          5. Defendant must maintain current employment, or if unemployed must seek and
                                                 maintain verifiable employment, or must commence an educational program subject to
                                  25             approval by Pretrial Services.

                                  26          6. Defendant must submit to drug and/or alcohol testing as directed by Pretrial Services.

                                  27          7. Defendant must not change residence or telephone number without prior approval of
                                                 Pretrial Services.
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                                             Case 5:19-cr-00663-EJD Document 17 Filed 12/27/19 Page 5 of 6




                                               8. Defendant must remain in the custody of his mother at her residence in Tracy,
                                   1              California.
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                                               9. Defendant must not travel outside of the Northern District of California or the Eastern
                                   3              District of California.

                                   4           10. Defendant must remain at his residence at all times except for employment; medical,
                                                   substance abuse, or mental health treatment; attorney visits; court appearances; court-
                                   5               approved obligations; or other activities approved in advance by Pretrial Services.
                                   6           11. Defendant must submit to location monitoring as directed by Pretrial Services to ensure
                                   7               compliance with all court-ordered location restrictions.

                                   8           F.      Alleged Violations
                                               The Court concludes that the government has more than carried its burden to show that Mr.
                                   9
                                       Garcha twice violated the condition of his release that requires him to remain at his residence at all
                                  10
                                       times except for specific activities approved in advance by Pretrial Services. Mr. Garcha does not
                                  11
                                       contest that he committed the violations. The Court also finds that Mr. Garcha was not candid
                                  12
Northern District of California
 United States District Court




                                       with Pretrial Services about his awareness that his conduct amounted to violations of his release
                                  13
                                       conditions.
                                  14

                                  15           G.      Revocation or Modification of Release
                                               Mr. Garcha violated the conditions relating to his location restrictions twice only a few
                                  16
                                       days after his release began. Equally important, he was dishonest with Pretrial Services about his
                                  17
                                       awareness of the restrictions and the consequences for violating those restrictions. Moreover, Mr.
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                                       Garcha’s mother has demonstrated, by her failure to observe and understand Mr. Garcha’s location
                                  19
                                       restrictions, that she is not a suitable custodian.
                                  20
                                               In view of Mr. Garcha’s violations of his release conditions, and given his history of
                                  21
                                       failure to comply with conditions of release reflected in his criminal history, I conclude that Mr.
                                  22
                                       Garcha is not amenable to pretrial supervision and is unlikely to comply with conditions of
                                  23
                                       release. In addition, the Court concludes that, based on the present record, no condition, or
                                  24
                                       combination of conditions, of release could be imposed that would reasonably assure the safety of
                                  25
                                       other persons or the community and Mr. Garcha’s appearance for court proceedings.
                                  26
                                  27   IV.     CONCLUSION
                                               Accordingly, defendant Sandeep Garcha is committed to the custody of the Attorney
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                                           Case 5:19-cr-00663-EJD Document 17 Filed 12/27/19 Page 6 of 6




                                   1   General or his designated representative for confinement in a corrections facility separate, to the

                                   2   extent practicable, from persons awaiting or serving sentences or being held in custody pending

                                   3   appeal. Mr. Garcha shall be afforded a reasonable opportunity for private consultation with

                                   4   defense counsel. On order of a court of the United States or on the request of an attorney for the

                                   5   government, the person in charge of the corrections facility shall deliver Mr. Garcha to the United

                                   6   States Marshal for the purpose of appearances in connection with court proceedings.

                                   7          IT IS SO ORDERED.

                                   8   Dated: December 27, 2019

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                                                                                                    VIRGINIA K. DEMARCHI
                                  11                                                                United States Magistrate Judge
                                  12
Northern District of California
 United States District Court




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